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                                   STATEMENT OF FACTS

        Your affiant,                        , is a Special Agent with the Federal Bureau of
Investigation (FBI) assigned to Denver Field Office of the FBI. In my duties as a Special Agent,
I have conducted criminal investigations and gained training and experience in interviewing and
interrogation techniques, arrest procedures, search warrant applications, the execution of searches
and seizures, the exploitation of lawfully obtained evidence and data, and various other procedures.
As a Special Agent, I am authorized by law or by a government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

                 Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
Temporary and permanent barricades were in place around the exterior of the U.S. Capitol
building, and U.S. Capitol Police were present and attempting to keep the crowd away from the
Capitol building and the proceedings inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
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Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the events, video footage which appeared to be captured
on mobile devices of persons present on the scene depicted evidence of violations of local and
federal law, including scores of individuals inside the U.S. Capitol building without authority to
be there.
                         Facts Specific to TODD BRANDEN CASEY

         Based upon review of public video, closed circuit video (“CCV”) footage and police body
worn camera (“BWC”) footage depicting the events at the U.S. Capitol building and grounds on
January 6, 2021, law enforcement identified an individual who pushed against police and aided
other rioters in confrontations with police near an entrance to the U.S. Capitol through verbal
threats, physical threatening gestures, aggressively grabbing and shaking metal barrier and
galvanizing other rioters to push through the lines held by U.S. Capitol Police. The FBI
subsequently posted a photograph of the individual at the U.S. Capitol under the name “125-AFO”
and requested help from the public to identify the individual. As set out in detail below, law
enforcement has identified “125-AFO” as TODD BRANDEN CASEY (“CASEY”) and there is
probable cause to believe that on January 6, 2021, CASEY committed violations of 18 U.S.C.
§§ 231(a)(3) (civil disorder); 111(a)(1) (assaulting, resisting, or impeding certain officers or
employees); 1752(a)(1) (knowingly entering or remaining in any restricted building or grounds
without lawful authority to do so); (2) (knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engaging in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions); and
(4) (knowingly engaging in any act of physical violence against any person or property in any
restricted building or grounds), 40 U.S.C. § 5104(e)(2)(E) (impeding passage through Capitol
grounds or any of the Capitol Buildings); and 40 U.S.C. § 5104(e)(2)(F) (act of physical violence
in the Capitol building or grounds).

                 125-AFO’s Activities at the U.S. Capitol on January 6, 2021

        According to a review of the BWC footage of Washington, DC Metropolitan Police
Department (MPD) Officers, an unidentified individual was observed assaulting law enforcement
officers at the U.S. Capitol on January 6, 2021. The unidentified individual was then included as
125-AFO A, B, & C in an FBI Seeking Information poster which was disseminated by the Office
of Public Affairs (OPA). (See Images 1, 2 & 3).




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Image 1- 125-AFO A                        Image 2 – 125-AFO B              Image 3 – 125-AFO C


           MPD BWC Footage of 125-AFO Assaulting Law Enforcement Officers

        By approximately 2:00 p.m., a police line was situated on the West Plaza on Capitol
grounds in an effort to protect the U.S. Capitol. Metal barriers composed of bike racks were set up
to act as barriers between the officers and the rioters. According to a review of Officer L.H.’s
BWC, at approximately 2:11 p.m., 125-AFO comes into camera view, cursing at officers, “Fuck
you. Fuck all of you. Fuck all of you.” (See Image 4).




                              Image 4 – MPD Officer L.H.’s BWC

       At 2:12 p.m., in what appears as an aggressive manner, 125-AFO slams his hands against
the metal barriers, appearing as if he is trying to break through the barriers and the police line.
(See Image 5)

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                              Image 5 – MPD Officer L.H.’s BWC

         According to a review of Officer LH.’s BWC, at approximately 2:17 p.m., 125-AFO
appears to be taunting officers by shouting, “Take that swing at me, motherfucker. Take that swing.
I ain’t afraid. What are you saying? Speak up!”

       According to a review of Officer L.H.’s BWC, at approximately 2:18 p.m., 125-AFO
continues to taunt the officers and threatens, “I would have come locked and loaded if I knew this
was happening!” (See Image 6)




                              Image 6 - MPD Officer L.H.’s BWC

        According to further review of Officer L.H.’s BWC, at approximately 2:21 p.m., 125-AFO
tries to galvanize the other rioters by urging them to “Push. You gotta come from the back.
Rollover. These fucking cowards, they’ll just hit you with sticks. That’s all they got.” (See Image
7).
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                               Image 7 – MPD Officer L.H.’s BWC

      According to a review of Officer L.H.’s BWC, at approximately 2:22 p.m., 125-AFO
screams “Where’s Schiff? 1 I’d like to beat his ass right in front of you. Nancy Pelosi too. Mitch
McConnell – these traitors.” (See Image 8)




                               Image 8 – MPD Officer L.H.’s BWC

       According to a review of Officer L.H.’s BWC, at approximately 2:27 p.m., 125-AFO
appears as if he is giving orders to the other rioters. Once again, he galvanizes the rioters and
says, “Now! Push it! Push it!” (See Image 9).


1
    I believe that by “Schiff,” AFO-125 was referring to Representative Adam Schiff.
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                              Image 9 – MPD Officer L.H.’s BWC

Seconds later, the other rioters appear to respond to AFO-125’s encouragement. The other rioters
baited and cursed at the officers, while aggressively kicking the metal barriers in order to knock
them down.

       According to a review of Sergeant G.N.’s BWC, at 2:33 p.m., on the West Plaza of the US
Capitol, AFO-125 appears to quickly shove Sergeant G.N. around the chest area. (See Images 10
and 11).




                            Image 10 – MPD Sergeant G.N.’s BWC




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                            Image 11 – MPD Sergeant G.N.’s BWC

            YouTube Video of 125-AFO Assaulting a Law Enforcement Officer

       According to a YouTube video entitled “Exclusive Video Footage of Peaceful Protestors
Being Attacked By the Capitol Hill Police,” 125-AFO appears to assault MPD Officer B.R. at
approximately 2:32 p.m. 2

        At approximately the 2:34 mark of the video, numerous rioters have further breached the
West Plaza and are swarming the law enforcement officers, following the collapse of the police
line that was formed farther back on the West Plaza. Many rioters surround MPD Officer B.R. and
starting at approximately the 2:46 mark of the video, 125-AFO appears to reach for and
aggressively grab Officer B.R. by the shoulder of Officer B.R.’s jacket. Once 125-AFO grabs hold
of the officer, 125-AFO appears to shove Officer B.R. toward the Capitol Building, until a Capitol
Police officer is able to pull Officer B.R. away from 125-AFO. (See Images 12-16).




2
 The YouTube video does not have timestamps. I estimate that the events described above took
place at approximately 2:32 p.m. based on comparison of the events in the YouTube video with
videos that do have timestamps, including CCV and body-worn camera footage.
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                   Image 12 – YouTube Footage




                   Image 13 – YouTube Footage




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                   Image 14 – YouTube Footage




                   Image 15 – YouTube Footage




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                                 Image 16 – YouTube Footage

                United States Capitol Police Surveillance Footage of 125-AFO

        By 3:00 p.m., 125-AFO was present in the vicinity of an archway connecting the inaugural
stage to a corridor that provided access to the interior of the capitol building (the Lower West
Terrace Tunnel or “the Tunnel”). Police officers had formed a line inside of the Tunnel and were
attempting the keep rioters from advancing further into the Capitol building. According to a review
of Closed-Circuit Video (CCV) footage, 125-AFO comes into camera view starting at
approximately 3:00 p.m. It appears that he is aggressively pushing through other rioters inside the
entryway in order to get closer to the front of the police line. (See Images 17-18).




                                    Image 17 – CCV Footage



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                                   Image 18 – CCV Footage

       After entering the Tunnel, 125-AFO approached the police line. Video obtained from a
photojournalist (“Video 1”) shows 125-AFO standing at the first set of double doors inside the
Tunnel in front of the police line. (See Image 19).




                                      Image 19 – Video 1

       125-AFO remained at the Tunnel near the police line for approximately nine minutes. At
approximately 3:10 p.m., 125-AFO left the Tunnel for the first time. At approximately 3:12 p.m.,
CCV footage captured 125-AFO entering the Tunnel for a second time. (See Image 20).




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                                   Image 20 – CCV Footage

       After entering the Tunnel for a second time, 125-AFO joined the crowd in pushing in a
rocking motion against the police line.

       At some point after 3:12 p.m., I believe 125-AFO left the Tunnel because at approximately
3:15 p.m., CCV captured 125-AFO entering the Tunnel for the third and final time. (See Image
21).




                                   Image 21 - CCV Footage




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        Once again, after re-entering the Tunnel, 125-AFO joined the crowd in pushing against
police. Video obtained during the January 6 investigation (“Video 2”) shows that 125-AFO pushed
his way forward into the Tunnel and then pushed up against other rioters who were pushing up
against the police. (See Image 22).




                                      Image 22 – Video 2

        At approximately 3:18 p.m., the police inside the Tunnel succeeded in pushing rioters out
of the Tunnel. 125-AFO was pushed out with the crowd. (See Image 23).




                                        Image 23 – CCV



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       A publicly available video (“Video 3”) shows 125-AFO after he was pushed out of the
Tunnel for the last time. 125-AFO was rubbing his eyes, consistent with someone who had
experienced the effects of chemical irritants. (See Image 24).




                                      Image 24 – Video 3

                        Identifying 125-AFO as Todd Branden Casey

       The FBI reviewed publicly available Facebook and Parler accounts that were believed to
be associated with CASEY. The FBI also learned of a telephone number ending in 9661, believed
to be associated with CASEY. Through open-source database checks it was determined that
CASEY resided in an area in the vicinity of Jefferson County, Colorado.

       In response to legal process in December 2021, T-Mobile provided the following
subscriber details for telephone number xxx-xxx-9661. Subscriber Name: Todd Casey,
Subscriber Status: Active, Subscriber Name Effective Date: 01/24/2019.

        In June 2022, your affiant interviewed a deputy from the Jefferson County (CO) Sheriff’s
Department in regards to a traffic incident involving CASEY. According to the deputy, on May
10, 2021, CASEY called the Jefferson County Sherriff’s Department, identified himself as Todd
CASEY and reported that someone had thrown something at his car, breaking the window. The
deputy responded and documented the incident in a Jefferson County Sheriff’s Office report. I
reviewed BWC footage from the deputy which showed that CASEY verbally identified himself to
the deputy and provided her with what appears to be a driver’s license. The deputy photographed
the license and returned it to CASEY. The deputy documented CASEY’s address and date of birth
in her report.

        During my review of the BWC footage, I observed that the person that identified
themselves as CASEY in the BWC provided by the deputy physically resembles 125-AFO, and
that the cap worn by CASEY in the BWC footage is similar to the cap worn by 125-AFO on
January 6, 2021. (See Images 25-26).
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         Image 25 - Jefferson County Sheriff’s Department BWC




         Image 26 - Jefferson County Sheriff’s Department BWC


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        Prior to our meeting, the deputy reviewed her report and BWC footage from the encounter
with CASEY. During the meeting, I showed the deputy three photographs of AFO-125: Image 1,
Image 2, and Image 6. The deputy positively identified photos “1” and “2” as CASEY and said
that she was “100% sure” that the photographs were CASEY, the victim of the May 10 traffic
incident. With regard to the photo “3,” the deputy stated that she was unable to identify the
individual due to the grainy nature of the photograph, but that the individual in the third photograph
had a similar build to CASEY.

       In January 2023, Golden Police Department, Golden, Colorado, received an online tip with
the Subject: “January 6th #125 – AFO in your city!” and which included a link to a social
networking website profile for a user named “Todd Casey” location Golden, CO. I have compared
the profile picture from that account (See Image 27) to images of 125-AFO and Todd CASEY
from the Jefferson County Sheriff’s Office BWC referenced above. Based on his facial features,
physical build, and that the hat worn in the photo appears to be the same hat worn in the Jefferson
County Sheriff’s Office BWC (See Images 25 and 26) and footage from January 6 (See Images
3 and 5), I believe the images all depict the same individual.




                                                 Image 27

                        CASEY’S Travel January 05, 2021 – January 07, 2021

        Records from American Airlines indicate that CASEY traveled from DEN (Denver
International Airport) to BWI (Baltimore Washington International) with an approximate one hour
and twenty-two minute layover in CLT (Charlotte) on January 5, 2021, with a departure time of
11:48 and arrival of 19:45. The booking information is as follows: Name: Todd Branden Casey,
Telephone Number: xxx-xxx-9661.

       Records from United Airlines indicate that CASEY traveled from BWI (Baltimore
Washington International) to DEN (Denver International Airport) on January 7, 2021, with a
departure time of 08:09 and arrival of 10:19. The booking information is as follows: Name: Todd
Branden Casey, Telephone Number: xxx-xxx-9661.

       Records obtained from U.S. Bank indicate that CASEY also paid for parking at “National
Mall Parking, Washington, D.C.” on January 6, 2021.

       Records from Nextcar Rental indicate that Todd CASEY, telephone number xxx-xxx-9661
had one rental record with a rental transaction of 01/05/2021-01/07/2021 with a pick-up at BWI
(Baltimore Washington International Airport).

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                                            Conclusion

        Based on the foregoing, your affiant submits there is probable cause to believe that CASEY
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        Your affiant further submits there is probable cause to believe that CASEY violated 18
U.S.C. § 111(a)(1), which makes it unlawful to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in 18 U.S.C. § 1114 as an officer or employee of the United
States while engaged in or on account of the performance of official duties. For purposes of Section
111 of Title 18, United States Capitol Police Officers and Metropolitan Police Department Officers
who responded to assist United States Capitol Police Officers on January 6, 2021, constitute
persons designated in Section 1114 of Title 18.

        Additionally, your affiant submits that there is probable cause to believe that CASEY
violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; and (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.




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       Finally, your affiant also submits there is probable cause to believe that CASEY violated
40 U.S.C. §§ 5104(e)(2)(E) and (F), which makes it a crime to willfully (E) obstruct, or impede
passage through or within, the Grounds or any of the Capitol Buildings; and (F) engage in an act
of physical violence in the Grounds or any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 25th day of August, 2023.
                                                                      Digitally signed by
                                                                      G. Michael Harvey
                                                    ___________________________________
                                                    HONORABLE G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE




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